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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 19-14035-ROSENBERG/MAYNARD

UNITED STATE OF AMERICA,
Plaintiff
Vv.

TENTLOGIX, INC.,
A Florida Corporation

Defendant.
/

NOTICE OF FILING OF CONFIRMATION

COMES NOW the Defendant, TENTLOGIX, INC., by and through its undersigned
attorneys and files this the Fourth Amended Plan or Reorganization for Tentlogix, Inc., in the
United States Bankruptcy Court Southern District of Florida, West Palm Beach Division.

It is the intent of Tentlogix, Inc., to abide by each and every requirement of said
confirmation.

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a copy of the foregoing has been furnished by Electronic filing
to Adrienne Rosen, Esquire, Adrienne.Rosen@usdoj.gov, and Emily Stone, Esquire,
emily.stone@usdoj.gov 99 N.E. 4" Street, 7" Floor, Miami, FL 33132-2111, Michael Porter,
Esquire, michael.porter2@usdoj.us; 550 $ 2" Street, Fort Pierce, FL 34950, 99 NE 4th St FI,
Haddad, Esquire, chris@chrishaddad.com, 7301 S. Dixie Highway, Unit B, WPB, FL 33405,
Robert a: Esquire, rjwpa@yahoo.com, 3601 S.E. Ocean Bivd., Suite 004, Stuart, FL 3499

thi day of March, 2022.

Respectfully submitted,

ROTH at DUNCAN, P.A.

Northbridge Centre, Suite 325

5 5 porth = Drive, P.O. Box 770

DAVID ROTH
Fla. Bar #116023

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